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                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK


LEADENHALL CAPITAL PARTNERS LLP,
LEADENHALL LIFE INSURANCE LINKED
INVESTMENTS FUND PLC,

                   Plaintiffs,

      v.

JOSH WANDER, STEVEN PASKO, KENNETH                    24 Civ. 3453 (JGK)
KING, 777 PARTNERS LLC, 600 PARTNERS
LLC, SPLCSS III LLC, SIGNAL SML 4 LLC,
INSURETY    AGENCY      SERVICES  LLC,
DORCHESTER RECEIVABLES II LLC,
SUTTONPARK CAPITAL LLC, SIGNAL
MEDICAL RECEIVABLES LLC, INSURETY
CAPITAL LLC, SUTTONPARK SERVICING
LLC, ADVANTAGE CAPITAL HOLDINGS
LLC,

                   Defendants.




                REPLY MEMORANDUM OF LAW IN SUPPORT OF
                    JOSH WANDER’S MOTION TO DISMISS


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Dated: December 19, 2024
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            Josh Wander submits this memorandum of law in further support of his motion to dismiss

  the Amended Complaint.

                                               ARGUMENT

I.      The Amended Complaint Does Not Allege a Basis to Confer Personal Jurisdiction Over
        Mr. Wander

            A.      The Forum-Selection Clauses Do Not Establish Personal Jurisdiction

            Plaintiffs cannot establish personal jurisdiction over Mr. Wander through the forum-

     selection clauses, because the Amended Complaint does not allege that Mr. Wander was an alter

     ego of any signatory to the relevant contracts.

            Plaintiffs’ opposition brief is largely devoted to arguing that the 777 Entity Defendants

     are alter egos of each other—not of Mr. Wander. See ECF 248 at 69 (arguing that “the 777

     Entity Defendants function as a single unit” based on their overlap in ownership, common office

     spaces, and alleged lack of business direction); id. at 71 (arguing that the 777 Entity Defendants

     do not transact “at arms length” with each other based on the “intermingling [of the] companies’

     assets”); id. at 72 (arguing that “there is an intricate web of guarantees and indemnities among

     the 777 Entity Defendants”). 1

            Plaintiffs’ remaining arguments do not demonstrate that the 777 Entity Defendants were

  merely an extension of Mr. Wander. See Firefly Equities LLC v. Ultimate Combustion Co., 10

 Civ. 1868, 2010 WL 5174358, at *5 (S.D.N.Y. Dec. 14, 2010) (“In evaluating [the alter ego]

 factors, courts begin with a presumption of corporate regularity, and as such, the party seeking to



  1
   In conjunction with this argument, Plaintiffs assert that “Wander and Pasko, through the
  Guarantors and Sellers that own and control the Borrowers, treated many such assets as their
  own and liquidated them for cash or double-pledged them to other creditors to fraudulently
  obtain more financing.” ECF No. 248 at 73. The cited paragraphs in the Amended Complaint,
  however, do not allege that Wander obtained any of the assets for personal use. See id. (citing
  AC ¶¶ 119-62).


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pierce the corporate veil bears a heavy burden in proving that the corporation was, in actuality, an

extension of the individual[.]” (internal quotation marks and citation omitted)).

       For instance, Plaintiffs argue that the 777 Entity Defendants lack corporate formalities

because they “all ultimately answer to Wander and Pasko.” See ECF No. 248 at 70. But “in the

context of closely-held corporations, corporate formalities are more relaxed than in a large public

corporate setting, and this should be taken into consideration as a factor in the ‘domination’

analysis.” In re Adler, 467 B.R. 279, 288 (Bankr. E.D.N.Y. 2012), appeal denied, judgment aff’d

sub nom. Ng v. Adler, 518 B.R. 228 (E.D.N.Y. 2014).

       Plaintiffs also argue that the 777 Entity Defendants are “chronically undercapitalized.”

ECF No. 248 at 71. Undercapitalization, however, “is rarely sufficient to pierce the corporate

veil, because otherwise the veil of every insolvent subsidiary or failed start-up corporation could

be pierced.” In re BH S & B Holdings LLC, 420 B.R. 112, 136 (Bankr. S.D.N.Y. 2009), aff’d as

modified, 807 F. Supp. 2d 199 (S.D.N.Y. 2011) (internal quotation marks and citation omitted).

       Moreover, Plaintiffs do not meaningfully respond to Mr. Wander’s argument that the

Amended Complaint forecloses their alter ego theory. See ECF No. 210 at 15-16. Specifically,

the Amended Complaint alleges that A-CAP and Mr. King so dominated and controlled the 777

Defendants that 777 Partners did “not control its own operations and ability to perform under the

LSA.” AC ¶ 192. In light of these allegations, Plaintiffs cannot show that Mr. Wander

“exercised [the] complete domination over the [777 Defendants]” required to pierce the

corporate veil. MAG Portfolio Consult, GMBH v. Merlin Biomed Grp. LLC, 268 F.3d 58, 63 (2d

Cir. 2001); see also Bank of Am. v. Apollo Enter. Sols., LLC, 10 Civ. 5707, 2010 WL 4323273, at

*4 (S.D.N.Y. Nov. 1, 2010) (noting that the “less onerous standard” for personal jurisdiction




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under an alter ego theory requires the plaintiff to establish “that one entity was subject to the

‘complete domination’ of the other” (citations omitted)).

          Plaintiffs’ observation that “[it] is possible for a corporation to be an alter ego for more

than one individual” does not alter this conclusion. ECF No. 248 at 73-74 (quoting Cardell Fin.

Corp. v. Suchodolski Assocs., Inc., 09 Civ. 6148, 2012 WL 12932049, at *18 n.14 (S.D.N.Y.

July 17, 2012), report and recommendation adopted sub nom. Cardell Fin. Corp. v. Suchodolksi

Assocs., Inc., 896 F. Supp. 2d 320 (S.D.N.Y. 2012)). None of the cases Plaintiffs cite involves a

situation where, as here, one individual was alleged to have completely dominated the

corporation to the exclusion of the defendant over whom personal jurisdiction is asserted. See,

e.g., AC ¶ 199 (“A-CAP is the puppeteer to 777 Partners’ marionette, and nothing happens at

777 Partners—even execution of a last-minute restructuring agreement to repay uncontested debt

and stave off this very litigation—without A-CAP’s approval.”); cf. Motorola Credit Corp. v.

Uzan, 739 F. Supp. 2d 636, 640 (S.D.N.Y. 2010) (“Given the proven ways in which the Uzans

and their associates have operated collectively, the Court concludes that all of the individual

defendants have exercised complete control and dominion over [the corporation].” (emphasis

added)).

          Plaintiffs meanwhile overstate the viability of the “closely related” doctrine absent a

showing of alter ego liability. 2 Although the Second Circuit has not yet reached the question, “a

growing number of cases in this District have begun to question the blind application of this test



2
     Plaintiffs cite Idle Media, Inc. v. Create Music Grp., Inc., 2024 WL 2946248, (S.D.N.Y. June
    11, 2024), as an example of a case subjecting a non-signatory to personal jurisdiction based on
    the “closely related” doctrine. See ECF No. 248 at 97. That case, however, concerned a motion
    to stay discovery and expressly did not decide whether the defendant was subject to the forum-
    selection clauses at issue. Id. at *3 (noting that the defendant’s motion to dismiss for lack of
    personal jurisdiction had not been fully briefed and seeking to avoid “prejudging the outcome”
    of that motion based on plaintiff’s argument about the forum-selection clauses).


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to situations where a non-signatory objects to a signatory’s enforcement of the forum-selection

clause against him.” Villalobos v. Telemundo Network Group LLC, 22 Civ. 7665, 2024 WL

5008980, at *4 (S.D.N.Y. Dec. 6, 2024) (internal quotation marks and citation omitted)

(collecting cases). “[T]he better view, persuasively articulated [in Arcadia Biosciences, Inc. v.

Vilmorin & Cie, 356 F. Supp. 3d 379 (S.D.N.Y. 2019), and HSM Holdings, LLC v. Mantu I.M.

Mobile Ltd., 20 Civ. 00967, 2021 WL 918556 (S.D.N.Y. Mar. 10, 2021)], is that a forum-

selection clause does not give rise to personal jurisdiction over a non-signatory unless the non-

signatory is otherwise bound to the agreement, as for example under the ordinary law of

successor liability and alter ego.” Koh v. Koo, 22 Civ. 6639 (JMF), 2023 WL 5352786, at *3

(S.D.N.Y. Aug. 21, 2023) (internal quotation marks and citation omitted). This is so because due

process requires the relationship between the defendant and the forum to “arise out of contacts

that the defendant himself creates with the forum State, not contacts between the plaintiff (or

third parties) and the forum State.” Arcadia Biosciences, 356 F. Supp. at 395 (quoting Walden v.

Fiore, 571 U.S. 277, 284 (2014)) (internal quotation marks omitted) (emphasis in original)).

       Because Plaintiffs have not alleged alter ego liability, the forum selection clauses cannot

establish personal jurisdiction over Mr. Wander.

       B.       Mr. Wander Has No Suit-Related Contacts with New York That Subject Him
                To Long-Arm Jurisdiction

               1.      Mr. Wander Is Not Subject to Personal Jurisdiction Based on Any
                       Transaction of Business in New York

       Seeking to manufacture some nexus between Mr. Wander’s limited New York contacts

and the claims asserted, Plaintiffs now recharacterize Mr. Wander’s good-faith efforts to

negotiate a forbearance agreement in March and April 2024 as “delay tactics.” ECF No. 248 at

102. The Amended Complaint, however, does not allege that Mr. Wander engaged in the

negotiations for the purpose of delaying repayment to, or otherwise defrauding, Plaintiffs. To


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the contrary, it alleges that Mr. Wander and Leadenhall both sought to “stave off” this lawsuit

through a restructuring agreement but that those efforts were allegedly thwarted by A-CAP and

Mr. King. See AC ¶ 178 (“In March 2024, in a last-ditch attempt to stave off this lawsuit,

Leadenhall entered into negotiations concerning a ‘Forbearance Agreement’[.]”); see also id.

¶ 288 (“In a last-ditch attempt to stave off litigation, Wander claimed he was confident he could

convince A-CAP to share the proceeds of its planned fire sale with Leadenhall. A-CAP did not

act as Wander predicted.”). To the extent that the restructuring negotiations had the effect of

“prolonging the scheme to facilitate fraudulent transfers to A-CAP,” ECF No. 248 at 102, the

relevant activity is A-CAP and Mr. King’s alleged refusal to approve any repayment—which is

independent of Mr. Wander’s efforts to reach a deal with Plaintiffs while in New York. See AC

¶¶ 180-91; see also Reich v. Lopez, 38 F. Supp. 3d 436, 458 (S.D.N.Y. 2014), aff’d, 858 F.3d 55

(2d Cir. 2017) (“The ‘arising out of’ requirement for personal jurisdiction under § 302(a)(1) is

not the same as merely being indirectly ‘related to’ the transacted business.”).

       Moreover, Plaintiffs’ argument that the restructuring negotiations are “part of the conduct

on which Leadenhall’s claims are based” is belied by the Amended Complaint. ECF No. 248 at

102. As Mr. Wander explained in his opening brief, none of Plaintiffs’ twelve claims is related

to Mr. Wander’s efforts to negotiate a forbearance agreement in March and April 2024. See ECF

No. 210 at 11-12 (explaining that Mr. Wander’s alleged New York contacts post-date all the

conduct underlying Plaintiffs’ claims). Tellingly, Plaintiffs’ opposition brief does not identify a

single claim in their Amended Complaint that purportedly arises out of Mr. Wander’s

transactions in New York during that period.

       Plaintiffs cannot avoid this problem simply by alleging, upon information and belief, that

Mr. Wander “worked on matters related to this action in New York” at 777 Partner’s office.




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ECF No. 248 at 102. Without identifying any specific business Mr. Wander allegedly transacted

in New York (or any claims arising therefrom), Plaintiffs cannot carry their burden of proving

jurisdiction. See Alvarez v. Experian Info. Sols., Inc., 19 Civ. 3343 (JS) (JMW), 2024 WL

5007451, at *18 n.10 (E.D.N.Y. Dec. 6, 2024) (finding personal jurisdiction was not established

where the complaint was “silent on [defendant’s] specific business activity in New York, and

how [plaintiff’s] claim specifically arose from [defendant’s] alleged activity in New York”); Fab

Habitat Corp. v. Houselights, LLC, 22 Civ. 2986 (ALC), 2023 WL 6385977, at *7 (S.D.N.Y.

Sept. 29, 2023) (“Plaintiff has not identified a specific transaction that occurred in New York

that bears a substantial relationship to the claims asserted in the Amended Complaint[.]”).

Accordingly, the Court should decline Plaintiffs’ invitation to draw the “inference” that any of

their claims arise out of Mr. Wander’s unspecified business transactions in the state. See

Robinson v. Overseas Mil. Sales Corp., 21 F.3d 502, 507 (2d Cir. 1994) (“In determining

whether a plaintiff has met this burden, we will not draw ‘argumentative inferences’ in the

plaintiff’s favor.”).

        For the reasons stated above, Plaintiffs cannot establish specific jurisdiction over

Mr. Wander based on any of his contacts with New York.

                2.      Mr. Wander Is Not Subject to Personal Jurisdiction Based on
                        Conspiracy

        Plaintiffs do not cite the relevant provision of New York’s long-arm statute for

conspiracy jurisdiction, but they presumably rely on section 302(a)(2). See Przewozman v.

Charity, 20 Civ. 6088 (NGG), 2023 WL 2562537, at *16 (E.D.N.Y. Mar. 17, 2023) (noting that

“numerous district courts sitting in New York have held that Section 302(a)(1) of New York’s

long-arm statute. . . does not provide for co-conspirator jurisdiction” (collecting cases));

CPLR § 302(a)(2) (“[A] court may exercise personal jurisdiction over any non-domiciliary, or



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his executor or administrator, who in person or through an agent . . . commits a tortious act

within the state[.]”).

        To warrant the inference that a defendant was a member of the conspiracy for

jurisdictional purposes, Plaintiffs must show that “(a) the defendant had an awareness of the

effects in New York of its activity; (b) the activity of the co-conspirators in New York was to the

benefit of the out-of-state conspirators; and (c) the co-conspirators acting in New York acted at

the direction or under the control or at the request of or on behalf of the out-of-state defendant.”

Bur-Tex Hosiery, Inc. v. World Tech Toys, Inc., 23 Civ. 3454 (LGS), 2024 WL 989841, at *9

(S.D.N.Y. Mar. 7, 2024).

        For the reasons stated in A-CAP’s motion to dismiss, Plaintiffs have failed to allege that a

conspiracy existed between the 777 Defendants and New York-based A-CAP and Mr. King. See

ECF No. 169 at 20–24. Without A-CAP and Mr. King’s membership in the purported

conspiracy, Plaintiffs cannot show that any “co-conspirator’s overt acts in furtherance of the

conspiracy had sufficient contacts with [New York] to subject that co-conspirator to jurisdiction

in that state.” Charles Schwab Corp. v. Bank of Am. Corp., 883 F.3d 68, 87 (2d Cir. 2018).

        Even if it had adequately alleged the existence of a conspiracy, the Amended Complaint

does not allege that Mr. Wander “had an awareness of the effects in New York” sufficient to

make Mr. Wander a participant in it for purposes of personal jurisdiction. Bur-Tex Hosiery,

2024 WL 989841, at *9. The essence of the Amended Complaint is that Mr. Wander’s and Mr.

Pasko’s actions in Florida—allegedly made under the direction of, or with acquiescence from, A-

CAP and Mr. King in New York—caused injury to Plaintiffs located in the UK and Ireland. See

ECF No. 248 at 104. The Amended Complaint does not identify, or provide a basis to infer, any

effects the alleged conspiracy had in New York, or how Mr. Wander could be aware of them.




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Absent such allegations, Plaintiffs cannot establish personal jurisdiction over Mr. Wander based

on conspiracy. See In re Terrorist Attacks on Sept. 11, 2001, 440 F. Supp. 2d 281, 287

(S.D.N.Y. 2006) (finding that the complaint failed to establish that the defendant bank or its

customers contributed funds to organizations serving as Al Qaeda fronts with “an awareness of

the effects in New York” of such monetary contributions); cf. LaChapelle v. Torres, 1 F. Supp.

3d 163, 171 (S.D.N.Y. 2014) (finding that the complaint established that an out-of-state

defendant knew that a conspiracy to convert proprietary data “would have effects in New York,

as the computer server and other items were housed in New York at the time, and [the victim] is

based in New York”); Fat Brands Inc. v. Ramjeet, 75 F.4th 118, 127 (2d Cir. 2023) (reasoning

that, because the complaint alleges that an out-of-state defendant’s misrepresentations rendered a

New York-based funding vehicle insolvent, the defendant “was aware of the impact of his

conduct in New York”).

               3.      Mr. Wander Is Not Subject to Personal Jurisdiction Based on Agency

       Plaintiffs’ agency argument fails for two independent reasons. First, Plaintiffs point only

to Mr. Wander’s control over 777 Partners to support their agency theory of jurisdiction. See

ECF No. 248 at 103 (“Wander and Pasko wholly owned and exclusively controlled 777 Partners,

600 Partners, and their subsidiaries, including the SuttonPark Servicer, and 777 Partners and the

SuttonPark Servicer maintained New York offices.” (citing AC ¶¶ 28-30, 33, 42-43)). The

Amended Complaint lacks any detail about Mr. Wander’s alleged control over any New York-

based companies or their employees. Because Plaintiffs rely solely on “conclusory allegations

that the defendant controls the corporation,” Karabu Corp. v. Gitner, 16 F. Supp. 2d 319, 324

(S.D.N.Y. 1998), they fail to show that this Court has personal jurisdiction over Mr. Wander

through his purported agents. See Pilates, Inc. v. Current Concepts Kenneth Endelman, 96 Civ.

0043 (MGC), 1996 WL 599654, at *3 (S.D.N.Y. Oct. 18, 1996) (“[A] general allegation that an


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officer controls a corporation is not sufficient to establish personal jurisdiction.”); Kinetic

Instruments, Inc. v. Lares, 802 F. Supp. 976, 984–85 (S.D.N.Y. 1992) (“The fact that [the

defendant] is the President and majority shareholder of [the corporation] does not necessarily

mean that the corporation will be considered his agent.”). Moreover, Plaintiffs’ claim that Mr.

Wander “exclusively controlled” the 777 Defendants is contradicted by the Amended

Complaint’s allegation that A-CAP and Mr. King exercised “total control and dominion over”

777 Partners. AC ¶ 194 (emphasis added); see also id. ¶ 199 (“A-CAP is the puppeteer to 777

Partners’ marionette[.]”).

       Second, even if the Amended Complaint had adequately alleged an agency relationship,

this argument would suffer from the same infirmity noted above: The Amended Complaint does

not identify any specific transactions in New York by Mr. Wander’s agents, nor does it identify

any claims that “arise from” such transactions. See CPLR § 302(a)(1). Similarly, personal

jurisdiction cannot be established based on a purported agent’s commission of any torts in New

York. See CPLR § 302(a)(2). An inference in favor of jurisdiction cannot be drawn based on

these allegations, as the Amended Complaint acknowledges that the one purported agent with a

New York office, SuttonPark Servicer, “has operations in Florida and may have moved its

principal office to the 777 Partners Address” during the relevant period. AC ¶ 33. Without an

allegation that a tort was committed by an agent physically present in New York, section

302(a)(2) cannot serve as a basis for personal jurisdiction. See Megna v. Biocomp Lab’ys Inc.,

166 F. Supp. 3d 493, 499 (S.D.N.Y. 2016).

       Accordingly, the Amended Complaint does not allege a basis for establishing personal

jurisdiction over Mr. Wander based on an agency theory.




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II.    The Amended Complaint Does Not Allege a Basis for Subject Matter Jurisdiction or State
       a Claim

           Mr. Wander joins in the arguments made by the 777 Entity Defendants in support of their

  motion to dismiss the Complaint.

                                          CONCLUSION

           For the multiple reasons noted above, the Court should dismiss the Amended Complaint in

   its entirety.


   Dated: December 19, 2024                    Respectfully submitted,
                                               GIBSON, DUNN & CRUTCHER LLP


                                                /s/ Jordan Estes____________________
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                                               Attorney for Defendant Josh Wander




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                                        CERTIFICATION

       JORDAN ESTES, an attorney admitted to practice in the courts of New York, affirms

under the penalties of perjury that the following is true:

       1.    I am a member of the law firm of Gibson, Dunn & Crutcher LLP, attorneys for

Defendant Josh Wander in this lawsuit and the individual with primary responsibility for filing

the foregoing memorandum of law in support of Mr. Wander’s motion to dismiss.

       2.    I hereby certify that the text of the foregoing memorandum of law, exclusive of

caption, table of contents, table of authorities, and date and signature line, is 2,792 words, and

therefore complies with the word-count limit established by Rule II.D of the Court’s Individual

Practices.



Dated: New York, NY
       December 19, 2024



                                                              /s/ Jordan Estes    _
                                                                Jordan Estes




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